Case 3:21-mj-00013 Document 8 Filed 08/03/21 Page 1 of 1 PagelD #: 8

bus ~ 3 2021
UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA RORY L PERRY I, CLERK
HUNTINGTON Southern District of Woot Virginia

IN THE MATTER OF THE SEARCH OF
THE CELLULAR TELEPHONE ASSIGNED Case No. 3:21-mj-00013
CALL NUMBER (304) 710-0914

MOTION TO UNSEAL

Comes now the United States of America by Joseph F. Adams,

Assistant United States Attorney for the Southern District of West

Virginia, and moves this Court to unseal Application and Affidavit

for a Search Warrant, the Search Warrant and the Return, including

any attachments thereto.

Respectfully submitted,

LISA G. JOHNSTON
Acting United States Attorney

s/Joseph F. Adams

JOSEPH F. ADAMS

Assistant United States Attorney
WV State Bar No. 9620

845 Fifth Avenue

Room 209

Huntington, WV 25701

Telephone: 304-529-5799

Fax: 304-529-5545

E-mail: joe.adams@usdoj.gov

